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                  AFFIDAVIT OF JENNIFER STEFANIA VASQUEZ SURA



1.​ My name is Jennifer Stefania Vasquez Sura. I was born on December 20, 1995, in
   Fairfax, VA. I am a U.S. citizen. I currently reside at 4502 Beltsville, MD, 20705. I am
   married to Kilmar Armando Abrego Garcia, who was born on July 26, 1995, in El
   Salvador. Kilmar was granted humanitarian protection by an immigration judge in
   October 2019.

2.​ Kilmar and I have three children together. I had two children from a prior relationship,
   D.T.V. and X.T.V., and Kilmar and I have one biological child together, A.A.V.. All three
   of our children have special needs.

3.​ D.T.V., was born on July 23, 2014, in La Plata, Maryland. She suffers from epilepsy and
   started having seizures in July 2024.

4.​ X.T.V, was born on October 26, 2015, in La Plata, Maryland. He was diagnosed with
   autism.

5.​ A.A.V., was born on August 11, 2019, in Silver Spring, Maryland. He was also diagnosed
   with autism.

6.​ Although having three small children with special needs can be challenging, Kilmar and I
   love our children and are grateful to be their parents. Having Kilmar as my partner in life
   and in raising and caring for them has been the greatest blessing to our family.

7.​ Both Kilmar and I work to support our family and care for our children.

8.​ I work in the dental field, and Kilmar is a sheet metal worker.

   Kilmar’s Arrest and Immigration Custody

9.​ On March 27, 2019, we had an appointment with a perinatal specialist. My pregnancy
   was considered high-risk because I was born with two uteruses. My condition is called
   Uterus didelphys. We were excited to learn we were expecting a boy.



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10.​The following morning, Kilmar was worried about my pregnancy risks and so he drove
   me and the kids. We dropped off X.T.V at the babysitter and D.T.V at school. He then
   drove me to work. The plan was for him to look for work during the day and then pick
   me up when I was done with work.

11.​After Kilmar dropped me off, he went to Hyattsville, seeking work in construction.
   Someone suggested that he go to Home Depot for day labor opportunities.

12.​Kilmar would often bring me lunch while I was at work. However, that day, I texted him
   telling him that I had food. He told me he would have lunch at a nearby buffet restaurant.

13.​At the end of my work shift, I texted him asking him to pick me up. I remember seeing
   that the message was marked as “read,” but Kilmar did not respond, which was not like
   him. I called him, but he did not answer. Shortly after, his phone was turned off.

14.​That evening, Kilmar never arrived to pick me up. I had to ask a co-worker for a ride and
   to pick up my son from daycare. We had to take an Uber home.

15.​By 7 p.m., I was frustrated and worried. At 9 p.m., I contacted his friends, and they
   informed me he had been at Home Depot but was arrested. I called various jails, but no
   one had information on his whereabouts. The next morning, around 10 a.m., Kilmar
   called me from ICE custody.

16.​I hired a lawyer to get him out on bond. I attended his bond hearing and was shocked
   when the government said he should stay detained because Kilmar is an MS-13 gang
   member. Kilmar is not and has never been a gang member. I’m certain of that. Because of
   these false accusations, he was denied bond. This left me alone to care and provide for
   our family, while I was very far along in my pregnancy, under extreme stress. I was
   terrified that he could be deported to El Salvador and our son would not have a father.

   Our Marriage in Detention and Our Family’s Struggles

17.​From the moment Kilmar was detained, my children and I were sad and worried. Kilmar
   has always been a loving, reliable partner and father. We struggled without him
   emotionally and economically. By then, we both knew we wanted to build a life together


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   as husband, but we did not know if he would be deported. Facing that possibility, Kilmar
   and I both felt getting married in detention might be our only chance to get married, even
   though it was far from how we ever imagined it.

18.​We got married on June 25, 2019, while he was detained. I coordinated with the detention
   center and a local pastor to officiate our wedding. We were separated by glass and were
   not allowed physical contact. The officer had to pass our rings to each other. It was
   heartbreaking not to be able to hug him.

19.​Next came his final hearing on August 9, 2019, where it would be decided if he would be
   granted humanitarian protection or if he would be deported. The hearing lasted over five
   hours and focused on two things: the false accusations against Kilmar and the risk to
   Kilmar’s life if he was deported to El Salvador. The hearing was continued until
   September because they could not get through everything.

20.​During the first hearing, I began having contractions. Our son, A.A.V., was born two days
   later on August 11, 2019. It was a complicated C-section. However, A.A.V. was born and
   I instantly fell in love with him. A.A.V. was born with microtia, a congenital ear
   deformity. Testing later showed that he is deaf in one ear. Kilmar missed A.A.V.’s birth
   because he was detained.

21.​Throughout his hearings, I testified and so did Kilmar. I testified a lot about Kilmar’s
   character. It was so emotional and unfair. It was so clear that they had absolutely no
   evidence that Kilmar was ever a gang member, yet they made us prove he was not one. It
   should be the other way around. Kilmar also testified about difficult things he went
   through in El Salvador before I met him. He testified about how he was a victim of gang
   violence in El Salvador when he was a teenager and he came to the U.S. to escape all of
   that.

22.​The judge did not make a decision on his case until October 19, 2019. That day, Kilmar’s
   attorney called and told me the news: Kilmar won his case. She explained that the judge
   granted him a special status that allows him to stay in the U.S. and makes it illegal to
   deport him to El Salvador. She told me that he cannot leave the country or he would lose
   his status.


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   Kilmar’s Release and Family Life

23.​When I got the news that he was being released, I rushed to pick him up. It was the first
   time he held his son. He was emotional, as were our children when they saw him after
   school.

24.​Although our family separation was hard, the love we have for each other and our kids
   has sustained us. Kilmar appeared to be a little more reserved and he now had a sadness
   about him that I didn’t see before he went into immigration custody.

25.​Kilmar resumed working as a sheet metal worker and did everything he could to secure a
   better future for himself and our family. In September 2024, he secured a job with W.E.
   Bowers and he began a five-year apprenticeship program to become a licensed
   journeyman. He was enrolled at the University of Maryland and had classes every other
   Thursday. The license would allow him to earn better wages.

26.​By 18 months old, our son, A.A.V., showed signs of autism. We were placed on a waiting
   list to be evaluated for autism under our child’s health insurance plan, but due to
   extremely long wait times, Kilmar and I decided to pay for it out of pocket. Even then,
   there was still a significant wait, but we were able to get A.A.V a much earlier
   appointment this way and he was formally diagnosed with autism by a pediatric specialist
   on October 21, 2024.

27.​Both of our older children attend school and both have Individualized Education Plans.
   Both Kilmar and I are active participants in our children’s education and development.

28.​In August 2024, A.A.V. started to attend a regular school but due to his condition in late
   October 2024 he was transferred to a special school. Now he is in a special program for
   children with special needs. When he finishes school, he will receive a completion
   certificate rather than a high school degree.

29.​Kilmar continued to be the supportive, loving, reliable, and law-abiding man I know and
   love. He was never arrested or accused of a crime. And to my knowledge, he never again
   was stopped by the police officers that accused him of being a gang member in 2019. We



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   really believed that the false accusations had been cleared up and that they were behind
   us.

   The Second Arrest and Deportation

30.​On Wednesday March 12, 2025, Kilmar was sent to a new job site in Baltimore. After
   work, he picked up A.A.V. from his mother’s house to bring him home. Shortly after he
   picked up our son, Kilmar called me, saying he was being pulled over. We each share our
   location with each other and I could see that he was close to home. I told him to put me
   on speaker when he was talking with the police because he does not feel confident
   speaking English. He did.

31.​ Kilmar thought it was a routine traffic stop. He pulled over in an Ikea parking lot and
   rolled down the window. The person at his window told him to turn off the car and get
   out. In English, Kilmar told the officer that his son was in the backseat of the car and had
   special needs. At that point, I heard the officer take Kilmar’s phone and hang up.

32.​A few minutes later, someone identifying themselves as with the Department of
   Homeland Security called me back and said that I needed to get there in 10 minutes to
   pick up my son or they would call child protective services.

33.​I arrived within minutes and they flagged me down as if they knew my car. When I
   arrived, Kilmar was on the curb in handcuffs. They had taken his work boots and his belt
   off. There were two male officers and a female officer with my child. They claimed his
   "immigration status had changed" and were taking him away.

34.​I put A.A.V in my car seat, who was crying. They asked me if I wanted to say goodbye
   to Kilmar. Kilmar was crying and I told him he would come back home because he hadn’t
   done anything wrong.

35.​A.A.V. has been very distressed since Kilmar has been gone. He is very close to Kilmar
   and one of the few people A.A.V. trusts. Although he cannot speak, he shows me how
   much he missed Kilmar. He has been finding Kilmar’s work shirts and smelling them, to
   smell Kilmar’s familiar scent. He has been crying and acting out more than usual since



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   Kilmar was arrested. As an autistic child, he needs stability and patterns. The sudden
   disappearance of his father is a big change for A.A.V. that makes him very distressed, and
   makes him act out physically.

36.​Kilmar has called me a total of five times since his arrest on March 12, 2025. He called
   me twice from an immigration facility in Baltimore, twice from Louisiana, and once from
   Texas.

37.​At approximately 9:00 PM the night he was arrested, Kilmar called me from Baltimore.
   He told me that he was questioned about a past traffic stop and that out of nowhere, they
   were bringing up the old, false accusations of MS-13 gang membership that we thought
   were behind us. He said that when they interrogated him about his connections to MS-13
   that they asked him about his visits to Don Ramon, a restaurant we frequented as a
   family, and asked him about a photo they had of him playing basketball with others at a
   local public court. Kilmar did not understand what was happening or why. He was
   reassured he would see a judge.

38.​Kilmar called me once more from Baltimore, basically saying the same thing. He was
   being asked the same questions and he would repeat the truth again and again - that he
   was not in a gang and didn’t know anything about any gang members.

39.​After that, I started to regularly check the ICE detainee locator. Whenever I would see his
   name somewhere, I would call that detention center, and I would tell them to give Kilmar
   the free call he was entitled to and I would ask them why he was there. I was desperate.
   None of this made any sense. No one would tell me why he was detained.

40.​Kilmar called me two more times from Louisiana. Those calls were sad and confusing to
   us both. Kilmar still had hope that this nightmare would end soon because he was still
   being told that he would speak with a judge.

41.​The final call I received from Kilmar was Saturday morning, March 15, 2025, at
   approximately 11:00 AM. That call was short and Kilmar’s tone was different. He was
   scared. He was told he was being deported to El Salvador. He was told he was being
   deported to El Salvador to a super-max prison called “CECOT.” He asked me to contact



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   his mom with all his U.S. immigration paperwork so they can give that to a lawyer in El
   Salvador.

42.​After that, I never heard from Kilmar again.

   Aftermath

43.​On Sunday, my brother in law, Cesar, texted me a photo of deportees sent to the
   Salvadoran super-max, CECOT. The photo was part of an article discussing the
   deportation of alleged Venezuelan gang members without court hearings. It was a group
   of men bent over on the ground, with their heads down and their arms on their heads.
   None of their faces were visible. There was one man who had two scars on his head like
   Kilmar does, and tattoos that looked similar to Kilmar’s. I zoomed into get a closer look
   at the tattoos. My heart sank. It was Kilmar.

44.​The ICE detainee locator continued to indicate that Kilmar was at the East Hidalgo
   Detention Center, but when I called, they told me he was no longer there and could not
   tell me where he was. They told me to call the number for the Baltimore ICE office
   provided by the detainee locator website. When I called, the number was disconnected.
   Now, Kilmar no longer appears in the ICE detainee locator.

45.​I keep seeing news footage from El Salvador. These reports are talking about horrible
   gang members from Venezuela. No one is talking about my husband and the fact that he
   is not a gang member, has no criminal history, is married to a U.S. citizen and has three
   special needs U.S. citizen children, and won legal protection in the United States. These
   reports and articles had some more pictures of CECOT prisoners where Kilmar is
   photographed. I know its him from his tattoos and his head scars. I also saw a video of
   him where he is being dragged by prison guards.

46.​Nonetheless, Kilmar was with this group in the news. I recognized Kilmar by his hand
   tattoos and scars on his head. His family also confirmed his detention in El Saldavor, who
   hired an attorney in El Salvador. Still, we have received no answers from either the U.S.
   or El Salvador government.



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   47.​This has been a nightmare for my family. My faith in God carries me, but I am exhausted
       and heartbroken. My children need their father. A.A.V, especially, requires constant care
       and stability. I need to know when my husband is coming home.




I, JENNIFER STEFANIA VASQUEZ SURA, hereby declare under penalty of perjury that the
foregoing is true and correct to the best of my knowlege.


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_________________________________​                  ​         ______________
Signature                       ​                              Date




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